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                    UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS

MALACHI I. YAHTUES,

                Plaintiff,

           v.                                CIVIL ACTION NO.
                                             24-12020-NMG

STEPHEN KENNEDY, MATTHEW PONTES,
JOY GALLANT,WELL-PATH, ANN LI, and
JAMES O’GARA, JR.,

                Defendants.
                                 ORDER

GORTON, D.J.                                        October 7, 2024

     Before the Court is Plaintiff Malachi I. Yahtues’s

(“Yahtues”) Motion in Opposition to the Court’s Order After

Initial Screening of Complaint Application and Request for

Amendment to that Order Issued August 16, 2024 (“Motion

Regarding the Court’s August 16, 2024 Order”), ECF No. 10, and

Motion for Leave to Amend the Complaint, ECF No. 12.

     After review of Yahtues’s filings, the Court rules as

follows.

     1.    Yahtues’s Motion Regarding the Court’s August 16, 2024

Order, ECF No. 10, is DENIED in part as MOOT with respect to its

initial screening inasmuch as the Motion to Amend the Complaint
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